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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               SOUTHERN DIVISION


                                                  )
EQUAL RIGHTS CENTER                               )
                                                  )
                      Plaintiff,                  )        C.A. No. 8:13-cv-01065-DKC
                                                  )
              vs.                                 )
                                                  )
WOODFIELD INVESTMENTS, LLC, et al.,               )
                                                  )
                      Defendants.                 )
                                                  )


                          NOTICE OF VOLUNTARY DISMISSAL



       Plaintiff Equal Rights Center respectfully submits this Notice of Voluntary Dismissal

pursuant to F.R.C.P. 41(a), and hereby voluntarily dismisses the above-referenced action.



Dated: August 29, 2013                      /s/ Douglas W. Baruch
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